                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF WISCONSIN
                              AT LAW AND IN ADMIRALTY


 UNITED STATES OF AMERICA,

                        Plaintiff,

                v.                                       Case No.

 APPROXIMATELY $935,390.00 IN UNITED
 STATES CURRENCY,

 ONE 2013 LAND ROVER RANGE ROVER,
 VEHICLE IDENTIFICATION NUMBER (VIN)
 SALSP2E40DA786404, WITH ALL
 APPURTENANCES AND ATTACHMENTS
 THEREON,

 ONE 2013 HONDA CIVIC LX, VEHICLE
 IDENTIFICATION NUMBER (VIN)
 2HGFG3B57DH529075, WITH ALL
 APPURTENANCES AND ATTACHMENTS
 THEREON, and

 ELEVEN ASSORTED JEWELRY ITEMS,

                        Defendants.


              VERIFIED COMPLAINT FOR CIVIL FORFEITURE IN REM


       The United States of America, by its attorneys, Matthew D. Krueger, United States

Attorney for the Eastern District of Wisconsin, and Scott J. Campbell, Assistant United States

Attorney for this district, alleges the following in accordance with Supplemental Rule G(2) of the

Federal Rules of Civil Procedure:

                                      Nature of the Action

       1.      This is a civil action to forfeit properties to the United States of America, under

21 U.S.C. § 881(a)(6), for violations of 21 U.S.C. § 841(a)(1).


            Case 2:20-cv-00376-PP Filed 03/09/20 Page 1 of 11 Document 1
                                   The Defendants In Rem

       2.      The defendant property, approximately $935,390.00 in United States currency,

was seized on or about October 1, 2019, from Govanny Molina and Amanda Ware at or near

4XXX W. Norwich Court, Milwaukee, Wisconsin.

       3.      The defendant property, one 2013 Land Rover Range Rover bearing vehicle

identification number SALSP2E40DA786404, with all appurtenances and attachments thereon,

was seized on or about October 1, 2019, from Govanny Molina at or near 4XXX W. Norwich

Court, Milwaukee, Wisconsin.

       4.      The defendant property, one 2013 Honda Civic LX bearing vehicle identification

number 2HGFG3B57DH529075, with all appurtenances and attachments thereon, was seized on

or about October 1, 2019, from Amanda Ware at or near 4XXX W. Norwich Court, Milwaukee,

Wisconsin.

       5.      The defendant property, eleven assorted jewelry items, more specifically

identified in A through K below, was seized on or about October 1, 2019, from Govanny Molina

and Amanda Ware at or near 4XXX W. Norwich Court, Milwaukee, Wisconsin.

               A.     One 14K yellow gold curb link necklace with diamonds,

               B.     One 14K yellow gold curb link necklace,

               C.     One 10K yellow gold Cuban link bracelet with diamonds,

               D.     One 10K yellow gold bracelet with diamonds,

               E.     One pair of 14K white gold non-matching, princess-cut diamond stud
                      pierced earrings,

               F.     One 10K two-tone (white & yellow) gold bracelet,

               G.     One pair of 14K yellow gold “crown of light” halo cluster diamond
                      pierced earrings,

               H.     One 10K yellow gold “superman” style ring with diamonds,

                                               2

            Case 2:20-cv-00376-PP Filed 03/09/20 Page 2 of 11 Document 1
                I.       One 10K white gold single black princess-cut diamond pierced earring,

                J.       One 10K yellow gold multi-halo-design ring with diamonds, and

                K.       One 10K yellow gold tooth grill.

        6.      The defendant properties are presently in the custody of the United States Marshal

Service in Milwaukee, Wisconsin.

                                       Jurisdiction and Venue

        7.      This Court has subject matter jurisdiction over an action commenced by the

United States under 28 U.S.C. § 1345, and over an action for forfeiture under 28 U.S.C.

§ 1355(a).

        8.      This Court has in rem jurisdiction over the defendant properties under 28 U.S.C.

§ 1355(b).

        9.      Venue is proper in this district under 28 U.S.C. § 1355(b)(1), because the acts or

omissions giving rise to the forfeiture occurred, at least in part, in this district.

                                         Basis for Forfeiture

        10.     The defendant property, approximately $935,390.00 in United States currency, is

subject to forfeiture to the United States of America under 21 U.S.C. § 881(a)(6) because it was

used or intended to be used in exchange for controlled substances, represents proceeds of

trafficking in controlled substances, or was used or intended to be used to facilitate a violation of

21 U.S.C. § 841(a)(1).

        11.     The defendant property, one 2013 Land Rover Range Rover bearing vehicle

identification number SALSP2E40DA786404, is subject to forfeiture to the United States of

America under 21 U.S.C. § 881(a)(6) because it represents proceeds of trafficking in controlled

substances, was purchased with proceeds traceable to an exchange of money for controlled

substances, or was used or intended to be used to facilitate a violation of 21 U.S.C. § 841(a)(1).

                                                    3

             Case 2:20-cv-00376-PP Filed 03/09/20 Page 3 of 11 Document 1
       12.      The defendant property, one 2013 Honda Civic LX bearing vehicle identification

number 2HGFG3B57DH529075, is subject to forfeiture to the United States of America under

21 U.S.C. § 881(a)(6) because it represents proceeds of trafficking in controlled substances, was

purchased with proceeds traceable to an exchange of money for controlled substances, or was

used or intended to be used to facilitate a violation of 21 U.S.C. § 841(a)(1).

       13.      The defendant property, eleven (11) assorted jewelry items, is subject to forfeiture

to the United States of America under 21 U.S.C. § 881(a)(6) because it represents proceeds of

trafficking in controlled substances or was purchased with proceeds traceable to an exchange of

money for controlled substances in violation of 21 U.S.C. § 841(a)(1).

                                               Facts

       14.      Marijuana is a Schedule I controlled substance under 21 U.S.C. § 812.

October 1, 2019 execution of search warrant at residence of Govanny Molina and Amanda
Ware

       15.      On October 1, 2019, officers executed a search warrant at the residence of

Govanny Molina and Amanda Ware, 4XXX W. Norwich Court, Milwaukee, Wisconsin (the

“Residence”).

       16.      Govanny Molina was present at the Residence during execution of the search

warrant.

       17.      Amanda Ware arrived at the Residence approximately one hour after officers

began execution of the search warrant.

       18.      On October 1, 2019, the following items, among others, were in the living room

of the Residence:

                A.     In a hallway closet area were the following:




                                                 4

           Case 2:20-cv-00376-PP Filed 03/09/20 Page 4 of 11 Document 1
                       i.   A box – with a shipping label originating from Trucker, Colorado
                            – containing several bags and jars containing a total of
                            approximately 34 grams of different strains of marijuana; and

                      ii.   Several packages of cannabis-infused gummies.

             B.     Under a computer desk were several bags containing a total of
                    approximately 455 grams of different strains of marijuana.

             C.     On a table were several bags, jars, containers, and vacuum-sealed bags
                    containing a total of approximately 473.5 grams of different strains of
                    marijuana.

      19.    On October 1, 2019, the following items, among others, were in the northwest

bedroom of the Residence:

             A.     On the floor were two 20-gallon storage totes.

                       i.   The first tote contained approximately $450,500 in United States
                            currency. This currency amount is a portion of the defendant
                            approximately $935,390 in United States currency.

                      ii.   The second tote contained approximately $452,680 in United
                            States currency. This currency amount is a portion of the
                            defendant approximately $935,390 in United States currency.

             B.     In an ottoman were the following:

                       i.   A semi-automatic handgun with laser and flashlight attachments
                            and a magazine loaded with 10 unfired cartridges; and

                      ii.   Two boxes of ammunition containing a total of approximately 250
                            unfired cartridges.

             C.     On or inside a dresser were the following:

                       i.   A money counting machine;

                      ii.   Approximately $30,278 in United States currency. This currency
                            amount is a portion of the defendant approximately $935,390 in
                            United States currency; and

                     iii.   A jewelry display box with numerous pieces of jewelry and two
                            Paks Jewelers appraisal forms for two bracelets – one appraised at
                            $15,500 and the other at $8,000. The defendant eleven assorted
                            jewelry items were located inside or near this jewelry box.

                                              5

         Case 2:20-cv-00376-PP Filed 03/09/20 Page 5 of 11 Document 1
       20.     On October 1, 2019, the following items, among others, were in the garage of the

Residence:

               A.      On a table were the following:

                          i.     A Food Saver vacuum sealer; and

                        ii.      Baggies, containers, and vacuum-sealed bags containing a total of
                                 approximately 5,329.50 grams of marijuana.

               B.      On the floor were the following:

                          i.     Vacuum-sealed bags, tote containers, garbage bags, baggies, and
                                 jars containing a total of approximately 2,340 grams of different
                                 strains of marijuana;

                        ii.      A case containing vape pens; and

                        iii.     Various plastic containers containing approximately 13,509
                                 packages of THC vape cartridges and THC edibles.

       21.     On October 1, 2019, the following vehicles were parked in the driveway of the

Residence:

               A.      The defendant 2013 Honda Civic LX registered to Amanda Ware.

               B.      A 2005 BMW 330CI registered to Govanny Molina. Inside the vehicle
                       were the following:

                          i.     A vape vile,

                        ii.      Three cell phones, and

                        iii.     Approximately $1,332 in United States currency. This currency
                                 amount is a portion of the defendant approximately $935,390 in
                                 United States currency.

       22.     On October 1, 2019, the defendant 2013 Land Rover Range Rover was parked on

the street near the Residence.

               A.      The 2013 Land Rover Range Rover was registered to Govanny Molina.



                                                   6

          Case 2:20-cv-00376-PP Filed 03/09/20 Page 6 of 11 Document 1
               B.     Inside the 2013 Land Rover Range Rover was approximately $600 in
                      United States currency. This currency amount is a portion of the
                      defendant approximately $935,390 in United States currency.

       23.     On October 1, 2019, Govanny Molina and Amanda Ware were arrested.

                            Govanny Molina’s State Drug Charges

       24.     On October 5, 2019, Govanny Molina was charged in Milwaukee County Circuit

Court, Case No. 19CF4433, with (1) possession of marijuana with intent to deliver (> 10,000

grams), modifiers – use of a dangerous weapon, as a party to a crime; and (2) maintaining a drug

trafficking place, modifier – use of a dangerous weapon.

                             Amanda Ware’s State Drug Charges

       25.     On October 5, 2019, Amanda Ware was charged in Milwaukee County Circuit

Court, Case No. 19CF4434, with (1) possession of marijuana with intent to deliver (> 10,000

grams), modifiers – use of a dangerous weapon, as a party to a crime; and (2) maintaining a drug

trafficking place, modifier – use of a dangerous weapon.

                            Administrative Forfeiture Proceedings

       26.     The Drug Enforcement Administration (“DEA”) began administrative forfeiture

proceedings against the approximately $935,390.00 in United States currency on the ground that

the seized currency was used or intended to be used in exchange for controlled substances or was

proceeds of trafficking in controlled substances.

       27.     The DEA began administrative forfeiture proceedings against (1) the 2013 Land

Rover Range Rover bearing vehicle identification number SALSP2E40DA786404, (2) the 2013

Honda Civic LX bearing vehicle identification number 2HGFG3B57DH529075, and (3) the

eleven assorted jewelry items on the ground that these seized items were purchased with

proceeds traceable to an exchange of money for controlled substances.



                                                    7

          Case 2:20-cv-00376-PP Filed 03/09/20 Page 7 of 11 Document 1
         28.   On or about December 16, 2019, Amanda Ware filed a claim with the DEA in the

administrative forfeiture proceedings to the defendant 2013 Honda Civic LX bearing vehicle

identification number 2HGFG3B57DH529075.

         29.   On or about December 18, 2019, Govanny Molina filed a claim with the DEA in

the administrative forfeiture proceedings to the following defendant properties:

(1) approximately $935,390.00 in United States currency; (2) 2013 Land Rover Range Rover

bearing vehicle identification number SALSP2E40DA786404; and (3) eleven assorted jewelry

items.

                                   Warrant for Arrest In Rem

         30.   Upon the filing of this complaint, the plaintiff requests that the Court issue an

arrest warrant in rem pursuant to Supplemental Rule G(3)(b), which the plaintiff will execute

upon the defendant properties pursuant to 28 U.S.C. § 1355(d) and Supplemental Rule G(3)(c).

                                         Claims for Relief

         31.   The plaintiff alleges and incorporates by reference the paragraphs above.

         32.   By the foregoing and other acts, the defendant property, approximately

$935,390.00 in United States currency, was used or intended to be used in exchange for

controlled substances, represents proceeds of trafficking in controlled substances, or was used or

intended to be used to facilitate a violation of 21 U.S.C. § 841(a)(1).

         33.   The defendant approximately $935,390.00 in United States currency is therefore

subject to forfeiture to the United States of America under 21 U.S.C. § 881(a)(6).

         34.   By the foregoing and other acts, the defendant property, one 2013 Land Rover

Range Rover bearing vehicle identification number SALSP2E40DA786404, represents proceeds

of trafficking in controlled substances, was purchased with proceeds traceable to an exchange of



                                                  8

           Case 2:20-cv-00376-PP Filed 03/09/20 Page 8 of 11 Document 1
money for controlled substances, or was used or intended to be used to facilitate a violation of

21 U.S.C. § 841(a)(1).

       35.     The defendant 2013 Land Rover Range Rover bearing vehicle identification

number SALSP2E40DA786404 is therefore subject to forfeiture to the United States of America

under 21 U.S.C. § 881(a)(6).

       36.     By the foregoing and other acts, the defendant property, one 2013 Honda Civic

LX bearing vehicle identification number 2HGFG3B57DH529075, represents proceeds of

trafficking in controlled substances, was purchased with proceeds traceable to an exchange of

money for controlled substances, or was used or intended to be used to facilitate a violation of

21 U.S.C. § 841(a)(1).

       37.     The defendant 2013 Honda Civic LX bearing vehicle identification number

2HGFG3B57DH529075 is therefore subject to forfeiture to the United States of America under

21 U.S.C. § 881(a)(6).

       38.     By the foregoing and other acts, the defendant property, eleven (11) assorted

jewelry items, represents proceeds of trafficking in controlled substances or was purchased with

proceeds traceable to an exchange of money for controlled substances in violation of 21 U.S.C.

§ 841(a)(1).

       39.     The defendant eleven (11) assorted jewelry items are therefore subject to

forfeiture to the United States of America under 21 U.S.C. § 881(a)(6).

       WHEREFORE, the United States of America prays that a warrant of arrest for the

defendant properties be issued; that due notice be given to all interested parties to appear and

show cause why the forfeiture should not be decreed; that judgment declare the defendant

properties to be condemned and forfeited to the United States of America for disposition

according to law; and that the United States of America be granted such other and further relief

                                                 9

          Case 2:20-cv-00376-PP Filed 03/09/20 Page 9 of 11 Document 1
as this Court may deem just and equitable, together with the costs and disbursements of this

action.

          Dated at Milwaukee, Wisconsin, this 9th day of March, 2020.

                                              Respectfully submitted,

                                              MATTHEW D. KRUEGER
                                              United States Attorney


                                       By:     s/SCOTT J. CAMPBELL
                                              SCOTT J. CAMPBELL
                                              Assistant United States Attorney
                                              Scott J. Campbell Bar Number: 1017721
                                              Attorney for Plaintiff
                                              Office of the United States Attorney
                                              Eastern District of Wisconsin
                                              517 East Wisconsin Avenue, Room 530
                                              Milwaukee, Wisconsin 53202
                                              Telephone: (414) 297-1700
                                              Fax: (414) 297-1738
                                              E-Mail: scott.campbell@usdoj.gov




                                                10

            Case 2:20-cv-00376-PP Filed 03/09/20 Page 10 of 11 Document 1
                                           Verification

       I, Robert Gregory, hereby verify and declare under penalty of perjury that I am a Police

Officer with the Milwaukee Police Department Special Investigations Division, that I have read

the foregoing Verified Complaint for Civil Forfeiture in rem and know the contents thereof, and

that the factual matters contained in paragraphs 14 through 23 of the Verified Complaint are true

to my own knowledge.

       The sources of my knowledge and information are the official files and records of the

United States, information supplied to me by other law enforcement officers, as well as my

investigation of this case, together with others, as a Police Officer with the Milwaukee Police

Department Special Investigations Division.

       I hereby verify and declare under penalty of perjury that the foregoing is true and correct.



Date: 3-9-20                                  s/ROBERT GREGORY
                                              Robert Gregory
                                              Police Officer, Milwaukee Police Department
                                              Special Investigations Division




                                                11

          Case 2:20-cv-00376-PP Filed 03/09/20 Page 11 of 11 Document 1
